Case 8:91-cr-00181-E_K-TGW Document 739 Filed 06/09/08 Page 1 of 2 PageID 833


                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


UNITED STATES OF AMERICA,


vs.                                                     CASE NO. 8:91-CR-181-T-17-TGW


RILEY BAILEY
                                        /

                                                ORDER

       This cause comes before the Court on the defendant’s motion for modification of

sentence, the requested modification was based on the retroactive application of revised cocaine

base sentencing guidelines (Docket No. 712). The Court appointed counsel in this case and

required responses from the United States Probation Office, the government, and the defendant,

through his appointed counsel. The Court has received and reviewed the responses (Docket Nos.

717 and 738 and Probation’s Retroactive Crack Cocaine Amendment Eligibility Assessment).

The government and the probation office agree that the defendant, who was sentenced as a career

offender, is not eligible for a reduction in sentence based on the amended guidelines. In

addition, the Court cites to the opinion in United States v Tingle, Case No. 08-1777 (8th Cir.

2008), wherein the Court found that the Sentencing Commission “did not lower the sentencing

range for career offenders” which is what set Mr. Tingle’s sentencing range, as it did the

defendant’s in this case. Accordingly, it is.
Case 8:91-cr-00181-E_K-TGW Document 739 Filed 06/09/08 Page 2 of 2 PageID 834


       ORDERED that defendant’s motion for modification of sentence, the requested

modification was based on the retroactive application of revised cocaine base sentencing

guidelines (Docket No. 712) be denied.



       DONE AND ORDERED in Chambers in Tampa, Florida this 9th day of June, 2008.




Copies furnished to: All Counsel of Record
